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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Case No. 22-cr-15-APM
ELMER STEWART RHODES ITI, et al.

Defendants.

UNITED STATES’ MOTION TO DISMISS TERM OF SUPERVISED RELEASE AND
PROBATION PURSUANT TO EXECUTIVE ORDER

The United States of America, by and through its attorney, the United States Attorney for
the District of Columbia, respectfully submits this motion.

As the Court is aware, an Executive Order issued on January 20, 2025, Granting Pardons
and Commutation of Sentences for Certain Offenses Relating to the Events at Or Near the United
States Capitol on January 6, 2021. Unnumbered Proclamation, _ Fed. Reg. ______ (Jan. 20,

2025), https://perma,.cc/W4NT-4K4S. This Proclamation included the above-listed defendants in

the list of defendants whose sentences had been commuted. “The Executive Branch has exclusive
authority and absolute discretion to decide whether to prosecute a case.” See United States v.
Nixon, 418 U.S. 683, 693 (1974).

The Court entered an Order dated January 24, 2025 Amending Conditions of Release (ECF
940). The defendants, however, are no longer subject to the terms of supervised release and
probation, as the Executive Order “commute(d) the sentences” of these defendants. As the terms
of supervised release and probation are included in the “sentences” of the defendants, the Court
may not modify the terms of supervised release; the term is no longer active by effect of the

Executive Order. See United States v. Haymond, 588 U.S. 634, 648 (2019) (Supreme Court has

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acknowledged “that an accused's final sentence includes any supervised release sentence he may
receive” and therefore “supervised release punishments arise from and are treat[ed] as part of the
penalty for the initial offense”) (cleaned up)).

The United States hereby indicates that the Order must be vacated.

Respectfully submitted,

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